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  LG Electronics Inc. and                Facsimile: (202) 783-2331
  LG Electronics U.S.A., Inc.

                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

                                             Civil Action No. 15-04431(SRC/CLW)

  MONDIS TECHNOLOGY LTD.,                   NOTICE OF MOTION IN LIMINE
                                              NO. 2 UNDER DAUBERT TO
              Plaintiff,                      PRECLUDE EVIDENCE OR
                                             ARGUMENTS BY MONDIS’S
  v.                                           EXPERTS RELATING TO
                                            COMMERCIAL SUCCESS, AND
   LG ELECTRONICS INC. and                    ANY DAMAGES-RELATED
   LG ELECTRONICS U.S.A., INC.,              OPINIONS BASED ON SUCH
                                             EVIDENCE OR ARGUMENTS
              Defendants.
                                                       Electronically Filed



        PLEASE TAKE NOTICE that pursuant to the schedule to be set forth by

  the Court, the undersigned counsel for Defendants LG Electronics Inc. and LG

  Electronics U.S.A., Inc. (collectively, “LG”), shall move in limine before the

  Honorable Stanley R. Chesler, U.S.D.J., at the United States District Court for the
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  District of New Jersey, Martin Luther King Building & U.S. Courthouse, 50

  Walnut Street, Newark, New Jersey, for an Order pursuant to Daubert to preclude

  evidence or arguments by Plaintiff’s experts relating to commercial success, and

  any damages-related opinions based on such evidence or arguments, and disallow

  Plaintiff from offering any evidence, testimony, or arguments regarding the same.

        PLEASE TAKE FURTHER NOTICE THAT in support of the within

  Motion in limine No. 2, LG will rely upon its Brief, Declaration of Liza M. Walsh

  with exhibits attached thereto, and any additional submissions made hereafter. A

  proposed form of Order is also submitted for the Court’s consideration.



  Dated: November 28, 2018               Respectfully submitted,

                                         s/ Liza M. Walsh
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